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Lawrence H. Reichman, OSB No. 860836
LReichman@perkinscoie.com
Nicholle Y. Winters, OSB No. 054155
NWinters@perkinscoie.com
PERKINS COIE llp
1120 N.W. Couch Street, Tenth Floor
Portland, OR 97209-4128
Telephone: 503.727.2000
Facsimile: 503.727.2222

Howard Skaist, Esq., OSB No 883482
hskaist@bltg-ip.com
Katherine Ford Horvath, Esq. (admitted pro hac vice)
khorvath@bltg-ip.com
BERKELEY LAW AND TECHNOLOGY
  GROUP, LLP
17933 Evergreen Parkway, Suite 250
Beaverton, OR 97006-7660
Telephone: 503.439.6500
Facsimile: 503.439.6558

Attorneys for Plaintiffs

                                    UNITED STATES DISTRICT COURT

                                           DISTRICT OF OREGON



MELLAND GROUP, LLC d/b/a
nTRUST, an Oregon limited liability                                            No. CV08-957-AC
company, and ALLAIN DE LA MOTTE,

                             Plaintiffs,
                                                    DECLARATION OF ALLAIN DE LA
         v.                                         MOTTE IN SUPPORT OF PLAINTIFFS'
                                                    MOTION FOR PRELIMINARY
BERND H. WEBER, CLAUDE J.                           INJUNCTION
CHAUVEAU, AMERICAN GULF
FINANCE CORP., ALVION
PARTNERS, LLC, WEBER, LLC, AGF
REALTY SOLUTIONS, INC.,
ALEXON HOLDINGS
INTERNATIONAL LTD., TIMEDATA
CORPORATION, TIME DATA
HOLDINGS, LLC, and DOES 1-10,

                             Defendants.



        I, Allain de la Motte, declare:


1 - DECLARATION OF ALLAIN DE LA MOTTE IN
                                                                            Perkins Coie i.i.i«
     SUPPORT OF PLAINTIFFS' MOTION FOR                              1120 N.W. Couch Street, Tenth Floor
     PRELIMINARY INJUNCTION                                              Portland, OR 97209-4128
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        1.       I am Chairman of Plaintiff Melland Group, LLC d/b/a nTrust ("Melland"). I make

this declaration in support of Plaintiffs' Motion for Preliminary Injunction. The following is true

to the best of my knowledge, information and belief.

        2.       I have been a resident of the State of Oregon since 1992 and currently reside in

Hillsboro, Oregon. I was born on the island of Mauritius from French parents, currently carry a

Republic of Mauritius Passport and am a resident alien of the United States, having emigrated in

1971.

         3.       I have been involved in the financial consulting services industry for twelve years.

I specialize in creating novel and innovative financial structures, strategies and products for

banks, financial institutions and companies seeking innovative financing, as well as for the

investment community at large.

Intellectual Property

        4.        I am the inventor of a substantial portfolio of financial-based intellectual property.

I have invented several novel financial technologies including, for example, "Trust-Linked

Banking" technology incorporating a debit card product that pays a trust dividend on deposits

held in trust (e.g., the "Trust-Linked Debit Card"); Institutional Capital Enhancement Funding

("ICEF") Program technology; complex "Riskless Principal" or "Principal-Protected" investment

structured methods and systems; and various other finance-related or profit generation strategies,

and proprietary systems, methods and processes. I have spent considerable time and effort over

the past 12 years creating, developing and implementing these new technologies, as well as

working to structure financial transactions utilizing my technologies. I have spent considerable

time and effort verifying that my financial technologies and structures comply with United States

banking regulations and laws. I have many pending patent applications (United States, foreign

and international) for my financial technology inventions, including five (5) broad patent

families encompassing over 1000 original claims that, in turn, are likely to result in dozens of



2 - DECLARATION OF ALLAIN DE LA MOTTE IN
                                                                                Perkins Coie llp
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individual patents being issued. Melland is and has been working with me to monetize and

market my technologies.

         5.       In addition, I have spent considerable time and effort developing trade secrets,

including confidential and proprietary financial tools implementing my financial technologies

such as cost data, formulas, compilations, methods, techniques, processes, know-how,

information about customer particularities and preferences, pricing and margin information, keys

for implementing my technologies for particular applications, spreadsheets, drawings,

flowcharts, diagrams, datasheets, deal sheets, term sheets, contracts for implementing different

aspects and components of my technologies, and other documents describing and explaining in

detail my confidential and proprietary financial technologies and structures for financial

transactions utilizing my technologies

         6.       Melland also safeguards trade secret information pertaining to its financial

technologies, including know-how, information about customer particularities and preferences,

pricing and margin information, keys for implementing confidential and proprietary financial

technologies for particular applications, spreadsheets, drawings, flowcharts, diagrams,

datasheets, deal sheets, term sheets, contracts for implementing different aspects and components

of confidential and proprietary financial technologies, and other documents describing and

explaining in detail confidential and proprietary financial technologies and structures for

financial transactions.

         7.       Melland is the applicant for a trademark and service mark, serial no. 77216797,

"NTRUST," in connection with goods and services including: electronic data carriers in the form

of magnetically encoded debit cards; printed matter and publications, namely, non-magnetically

encoded debit cards; and financial services, namely, providing debit card services, administration

of the issuance, redemption and processing of cash disbursement, transaction authorization and

settlement services in the nature of cash management and electronic case transaction services,

formation, operation and termination of trust management accounts, and management of trust

3 - DECLARATION OF ALLAIN DE LA MOTTE IN
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accounts that are connected to bank accounts. Melland uses and has used the NTRUST

trademark and service mark in commerce in connection with these goods and services.

         8.       Melland uses in commerce the unregistered trademark and service marks

"Melland Group," "Melland Group, LLC," "ICEF," and "Institutional Capital Enhancement

Funding (ICEF) Program" in conjunction with financial and investment structures, strategies and

products, and providing services for creating financial and investment structures, strategies and

products. I will hereafter collectively refer to all of the de la Motte and Melland confidential

information, technology and trade secrets described above as the "Confidential Technology."

Likewise, I will collectively refer to the Confidential Technology and the technology covered by

the pending patent applications together as the "Proprietary Technology."

Measures to Maintain the Secrecy of the Confidential Technology

         9.       Melland and I derive independent economic value, actual or potential, from

having the Confidential Technology not being generally known to the public or to other persons

who can obtain economic value from its disclosure or use. It is of the utmost importance to my

business to maintain the Confidential Technology in the strictest of confidence. As such,

Melland and I employ measures to maintain the secrecy of the Confidential Technology. Melland

and I do not disclose information about the Confidential Technology without requiring a

potential recipient of the Confidential Technology to execute a non-disclosure agreement

prohibiting the recipient from disclosing the Confidential Technology. Melland and I carefully

screen and limit potential recipients to whom we will allow disclosure of the Confidential

Technology under a non-disclosure agreement. Further, I store all trade secret information in a

password protected folder on my computer, which requires two levels of passwords

authentication to open.




4-   DECLARATION OF ALLAIN DE LA MOTTE IN
                                                                             Perkins Cole llp
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Defendants' Access to and Non-Disclosure Agreements Regarding The Confidential
Technology

         10.      During early May 2007,1, along with Robert M. West ("West"), President of

Melland, traveled to New York to meet with several potential licensees of the Proprietary

Technology. We stayed with Defendant Claude J. Chauveau ("Chauveau") at Chauveau's

combination office/condo in Brooklyn, during which time we spent many hours with Chauveau

further explaining the Proprietary Technology in greater detail. Chauveau was at that time a

member of Melland Group, LLC, dba nTrust, had the title of Chief Information Officer and

carried business cards of the company evidencing his title. For example, and among other things,

we shared with Chauveau multiple Excel spreadsheets containing voluminous and complex

information pertaining to different aspects of the Confidential Technology. We also shared with

him how this Confidential Technology related to technology covered by our pending patent

applications.

         11.      The week of August 13-17,2007,1 traveled to New York along with Thomas L.

Estes ("Estes"), then acting Chief Investment Officer of Melland, and along with Chauveau, met

with several potential licensees of the Proprietary Technology, including the Bank of New York

Mellon ("BNY Mellon") and MasterCard. During this trip, I discussed with Chauveau the

feasibility of Chauveau obtaining a limited use sub-license of a portion of the Proprietary

Technology (known as the "card game technology") to assist TimeData, Inc., a company which

he 70% owned, with generating badly needed funding, without which Time Data's continued

existence was doubtful at best. During these discussions, I revealed to Chauveau further details

about the Proprietary Technology and how it functions.

         12.      On or about September 1,2007, Defendant Bernd H. Weber ("Weber") traveled to

Melland's corporate offices in Portland, Oregon to meet with me to further learn about the

Proprietary Technology and its applications in the marketplace, including its application to the

financial situation of a company called Alvion Properties, Inc. ("Alvion Properties"). Pursuant to

5- DECLARATION OF ALLAIN DE LA MOTTE IN
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the Confidential Non-Disclosure Agreement ("CNDA") executed by Weber on behalf of Alvion

Properties, I continued to disclose to Weber, in detail, the intricacies and nuances of the

Confidential Technology.

         13.      On or about November 26, 2007,1 traveled to New York with West, Weber and

Estes for two weeks of meetings, the principal purpose of which was to engage The Bank of New

York Mellon ("BNY Mellon") to (i) serve as the trustee for Alvion Properties' coal assets as part

of implementing the Confidential Technology, and (ii) provide or, alternatively, syndicate with

other banks a credit facility against the coal assets.

         14.      From December 4-8,2007, Chauveau and Weber engaged me in numerous in

depth discussions to further learn about my ideas for implementing the Proprietary Technology

as a partial solution to the liquidity crisis in the United States and globally. During the

discussions, I revealed to Chauveau and Weber additional intricacies and nuances of the

Confidential Technology. My ideas here led to the concept of the ICEF Program utilizing a

derivative of technologies described in pending patents that dated back to February 2004,

together with the Confidential Technology, which was protected at the time by five (5) CNDAs

executed by Chauveau and Weber (and/or their companies and principals).

         15.      The ICEF Program is a financial product designed to assist banks and other

financial institutions with rebalancing their capital adequacy ratios by increasing their Tier II

capital base while simultaneously off-loading their toxic and/or distressed portfolios of sub-

prime mortgages in 100% arm's length transactions without major having to take-on a massive

and immediate capital loss on their books and, in the process, increase shareholder value. I

created the initial working document for the practical applications of the technology with

subsequent contributions by Chauveau and Weber based upon the Proprietary Technology.

Nothing new or substantive was added by either Chauveau or Weber. Their sole contribution was

purely from a marketing and presentation standpoint.



6 - DECLARATION OF ALLAIN DE LA MOTTE IN
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        Defendants' Unauthorized Uses of the Confidential Technology

        16.      In January 2008, Melland initiated discussions with representatives of Deloitte

and Touche, LLP ("Deloitte") in New York to explore a consultancy with Deloitte regarding

specific accounting treatments of the Proprietary Technology as they applied to "banking and

accounting regulations" relating to the ICEF Program. I later learned from Alvion Properties that

during February 2008, Weber and Chauveau attempted to leverage the Melland/Deloitte

relationship by seeking funds from the Alvion Properties' owners to secure a Deloitte opinion

and endorsement of the ICEF Program that they, in turn, could use in their efforts to secretly

market the Proprietary Technology for their own benefit. Weber and Chauveau did not inform

me that they attempted to gain this opinion from Deloitte, nor that they attempted to secretly

solicit funding for it from Alvion Properties. Neither I nor Melland authorized Weber and

Chauveau to seek funds from Alvion Properties for this opinion letter.

         17.     Chauveau and Weber engaged me and West (on behalf of Melland) in discussions

to form a joint venture—the cornerstone of which was to be the Proprietary Technology. On or

about January 21,2008, Chauveau and Weber delivered to us a document, entitled "BrainTrust"

Financial Centre (BFC) L.L.C.," which outlined the proposed partnership between the four

parties. "Fundamental" to the proposal was the requirement that Melland and I assign the

Proprietary Technology to the new venture, "Newco", thereby effectively conferring 1/3

ownership interest each in the Proprietary Technology to Chauveau and Weber, a proposal

without rational or economic sense from our perspective. A true and correct copy of the

"BrainTrust" document is attached as Exhibit A.

         18.      In the "Title" field of the "properties" section of this Microsoft Word version of

the "BrainTrust" document, we found the following note from Weber to Chauveau: "ftjhe

creativity braintrust centre to make money offthe 'patents' is in Toronto and NYC - so, let's work

hard myfriend -lam taking a break now and cookfor Monda, I had my 9 hours already -

therefore, I would suggest you give it a shotfirst and we get..." (my emphasis added) A true and

7-   DECLARATION OF ALLAIN DE LA MOTTE IN
     SUPPORT OF PLAINTIFFS' MOTION FOR                                 {120 N.w'couch StLVllh Floor
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correct copy of a screenshot of the "properties" section of the "BrainTrust" document showing

the text discussed above in the "title" field, as well as a true and correct copy of a Word

document of the text copied from the "Title" field so that it may be viewed in its entirety, are

attached as Exhibit B.

          19.      Immediately thereafter, on or about January 22,2008, on the phone and in

writing, I made it clear to Weber and Chauveau that we would not assign the Proprietary

Technology to the new venture. At that point, Chauveau and Weber stated their intention to take

the Proprietary Technology outright and "go it alone" without me or Melland. As a result, our

negotiations to form Newco ceased.

Defendants' Unauthorized Disclosures of the Confidential Technology

         20.       On or about January 18,2008,1 learned that on or about December 19,2007,

while supposedly working on a financial transaction involving Alvion Properties' coal reserves,

Weber, without my or Melland's knowledge, surreptitiously obtained an executed CNDA from

Commerce Bancorp in Cherry Hill, New Jersey by falsely representing to Commerce Bancorp in

a letter that Defendant AGF Realty Solutions and Defendant Alvion Partners, LLC had licenses

to the Proprietary Technology. Neither I nor Melland authorized Defendants to falsely represent

to Commerce Bank that the Proprietary Technology was their property.

         21.       On February 11,2008,1 sent individual letters to Weber and Chauveau accepting

their resignations that they had communicated to Melland's attorneys, Seward & Kissell, in New

York on February 7,2008, respectively: Weber as Senior Vice President—Project Development

and Chauveau as Chief Information Officer of Melland. In the letters, I further reminded Weber

and Chauveau that they continued to be bound by their CNDAs with Melland, and warned them

not to use and/or disclose the Confidential Technology to anyone else without authorization.

True and correct copies of the letters sent to Weber and Chauveau are attached as Exhibits C and

D.




8 - DECLARATION OF ALLAIN DE LA MOTTE IN
                                                                              Perkins Coie llp
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         22.      On or about May 22,2008,1 learned that, consistent with their threats and stated

intentions, Weber and Chauveau secretly provided to Brad Henshaw ("Henshaw"), Senior Vice

President of Farmer's State Bank in Harrisburg, Illinois ("FSB"), a portion of the ICEF Program.

The portion of the ICEF Program provided to Henshaw contained content that I wrote as part of

the Confidential Technology, but did not mention me, nTrust or Melland. I did not authorize

Defendants to disclose the Confidential Technology to Henshaw or Farmer's State Bank, nor did

I authorize Weber or Chauveau to claim that the ICEF technology was their technology. The

ICEF information provided to Henshaw is attached as Exhibits A-C to the Declaration of Brad

Henshaw ("Henshaw Declaration"), filed concurrently herewith.

         23.      I also learned that Defendant Alvion Partners, LLC had delivered an ICEF

Program deal sheet to FSB, claiming that it was Alvion Partners, LLC's technology. Weber had

led us to believe that Alvion Partners, LLC was formed at the request of, with the knowledge of

and with the ownership of the same shareholders as Alvion Properties, Inc., we discovered that,

in fact, the owners of Alvion Properties, Inc. had no such ownership in Alvion Partners, LLC and

that Alvion Partners, LLC was a company that was 100% owned by Weber to support his secret

machinations with the full support of Chauveau who later became a director of Alvion Partners,

LLC. The ICEF Program deal sheet contains content that I wrote and it also describes the

Confidential Technology. The deal sheet does not mention Melland, nTrust and/or me. I did not

authorize Defendants to deliver or disclose the ICEF Program deal sheet to FFSB, nor did I

authorize Weber or Alvion Partners, LLC to claim that the ICEF technology was their

technology. The ICEF deal sheet is attached as Exhibit C to the Henshaw Declaration.

         24.      I also learned that Weber had delivered a PowerPoint presentation to FSB

discussing an "AP Invent Program," claiming that it was Defendant Alvion Partners, LLC's

technology. The content of the PowerPoint presentation describes the Proprietary Technology,

including the ICEF technology. The PowerPoint presentation does not mention Melland, nTrust

and/or me. I had not authorized Defendants to deliver or disclose information concerning the AP

9- DECLARATION OF ALLAIN DE LA MOTTE IN
     SUPPORT OF PLAINTIFFS' MOTION FOR                               , 120 N.w'Sucn SeeVlenth Floor
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Invent Program and/or the ICEF Program to FSB. The AP Invent PowerPoint presentation is

attached as Exhibit D to the Henshaw Declaration.

       25.    On or about May 16,2008,1 met with Don and Shirley Medley, and Jack

Reynolds (principals of Alvion Properties) and Brad Henshaw (Alvion Properties' FSB banker)

in Nashville, Tennessee. During this meeting, I described an investment technology that I had

invented called the "card game." I used a PowerPoint presentation and a binder with laminated

cards to describe the technology. Upon seeing the demonstration, Henshaw informed me that he

had seen the "card game technology" before via a demonstration from Weber, who claimed that

he invented the "card game" despite the fact that it was Confidential Technology that I

previously disclosed to Weber, and Chauveau, under the CNDA.

       26.     On or about September 30,2008,1 learned that Weber delivered information,

including an agreement entitled "AGF Asset Management Agreement" to a third party named

Tanglewood Development, LLC ("Tanglewood") in North Carolina, in an apparent attempt to

legitimize himself and his financial expertise in an effort to secure the management of

Tanglewood's real property assets. On or about November 21, 2008,1 learned that Weber

delivered information to Tanglewood on behalf of Defendant American Gulf Finance

Corporation regarding "Real Estate Unit Participation Trust" and in which Weber solicited

Tanglewood's participation in a fund involving Defendant AGF Realty Solutions, LLC and a

trust entitled "AGFC Investment Banking Trust I," which Weber claimed held the assets of

Alvion Properties.

       27.    The information disclosed to Tanglewood included content that I created including

a detailed description of the Proprietary Technology, without mention of Melland, nTrust and/or

me. I did not authorize Defendants to deliver or disclose the Confidential Technology to

Tanglewood, nor did I authorize Weber or Defendant American Gulf Finance Corporation or

Defendant AGF Realty Solutions, LLC to claim that the Proprietary Technology was their

technology. Until learning of this unauthorized disclosure by Weber, I had never heard of

10 - DECLARATION OF ALLAIN DE LA MOTTE IN
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Tanglewood. A true and correct copy of the letter sent by Weber to Tanglewood is attached as

Exhibit A to the Declaration of Jon S. Crouse, filed concurrently herewith.

        I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

        DATED: December 4, 2008



                                               Allain de la Mdtte




11 - DECLARATION OF ALLAIN DE LA MOTTE IN
                                                                              Perkins Coic llp
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                          BrainTrust Financial Centre (BFC) LLC

Mission Statement: To Ensure the Development, suitable Application and Endowment of
Financial Intellectual Properties for Humanitarian and Commercial Objectives on an
exclusive basis

   1) What IP, existing or otherwise, is to be assigned to the BFC?
         a. Allain, please define the patent filings that are to be assigned
         b. Definition of derivative IP works; i.e. - future developments involving
                  simultaneous escrow-based transactions
           c.     Organizational structure (similar to an international law firm structure)
                  with 3 initial founding managing partners consisting of AUain/Bob acting
                  as one, Bemd & Claude
           d. How will managing partners be compensated?
           e. How will projects be treated that do not involve all four managing
                  partners?      .                                                       •
           f.     How will future partners and/or associates be selected?
    2) On what basis will future BFC partners and/or associates be hired and/or
       compensated? As consultants? As employees? Salaried? Commission?
    3) How will the BFC's IP be licensed and/or made available to third-parties?
            a.    Merrick et al - TLDC project
            b.    Prometheus Capital Project
            c.    Alvion Partners LLC
            d. Others...                   '                                .'
    4) What decisions process do we design to select the projects and funding for
        humanitarian projects?
     5) Jurisdiction and ownership of LLC




                                                                                 Exhibit A, Page 1
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                                                        Exhibit B, Page 1
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the creativity braintrust centre to make money ofthe "patents" is in Toronto and NYC -
so, lefs work hard my friend -1 am taking a break now and cook for Monda, I had my 9
hours already - therefore, I would suggest you give it a shot first and we get




                                                                           Exhibits, Page 2
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                                         Sfri                                                           Ailain de la Motte
                                                                                                                       Chairman

              e-mn cva; c   n^Kllr» ba                                                                  adlm@nTrustFinancB.com
              6700 SW SandburjD Rd                                                   .                          Tel: 503^437-301?
              Tisard, Oregon 97223                                                                              Fax: 503/213-7210




                                                                                             February 11, 2007

     Transmitted bv E-mail: berndhweber@sympatico.ca


      Bemd :H. Weber
     55 Kingsbridge Garden Circle (Suite 702)
      Mississauga, Ontario L5R IY1
     Canada

      Dear Bemd,

      ?our recent decision to terminate your business relationship with MellandGroup, LIX, as. announced to
      puf New York lawtfirm ph Friday February 8,20138, swas received with much personal regret and
      sadness.

      I write to confirm kwir acceptance of your resignation as Sr. Vice President - Project Development. We
      also accept your termination of the JV Agreement we have with ypqr cprnpany,. /\GF- Please destroy -any
      gnd all riTrust business cards that, are still in your possession.

      Iwoald remind you that our -Confidentiality, Non-Disclosure and Ncan-CltJIizatton Agreement surviv.es this
      termination. I also remind you tret you have already assigned to us any and all rights,, title and interest
      to any dejwatiye IP work and that we will not hesitate :to seek tnjoticttve rejief to prevent the
      unauthorJzed use of our IP Snd/br .any ^el-ivative work thereof. We will also, move decisively t6 qaash
      any potential abuse of our proprietary IP with all remedies available to us at law;

      We .will cpatinue to abide b_y the terms of the Consulting Agreement. If you, on behajf of the Alyion
      Properties, on the other hand, intend tb do otherwise,, pjease let ijs kfibw at your earliest cqnyeniejiee irj
      writing as required by the termination, dtause of the Consulting Agreement.

      .We believe that it would be mutually beneficial-for us to discuss these issues..       Please let us know when
      it would, be a:good time for us tp. have« conversation-.

      Sincerely^




      Allai



      cc.       Robert M. West
                 :David Cooper, Esq.
                 Ted Karr, Esq.
                 Howard Skaist, Esq.
                 James T. Hughes, Esq.
                 Gerhard Anderson III, Esq.
                 Stephen R. Field, Esq.




                                                                                              Exhibit C, Page 1


Intellectual Property Holding- Innovations in Structured Finance; Financial Products; Siraragies-for Waattti Creation; E-Commerce
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                                                                                                                            Officn el

                                          n                                                              Allain de la Motte
                                                                                                                         Chairman

                                                                                                          arflm@nTrustFinanc6.cotn
               6700 SW Sandburg Rd                                                                                Tet 503/437-3017
               Tigard, Oregon 97223                                                                               Fax:




                                                                                               February 11, 2007



     Transmitted bv E-mail.: cic@tirnedatac6rp.c6m

     Claude. 1 Chauveau                           Time Data Corporation
     447 West 56B> Street (1st Floor)             ^/o Claude J. Chauveau, CEO.
     New York, NY 10019                           447. West.56* Street {Is* Floor)
                                                  New York, WY10W.9                ■      '

     Deaf Claude,

     it Is with much personal regret anddeep;sadness that I write'fef eonfirm our acceptance of your
     resignation as acting Chief Information Officer of Melland Group, U£, dba rvTaist, Please discard any
     business, cards that remain in your possession. We have removed your Melland. email addresses.

     I woufd rernind you that you personally, Time Data Corporation and its current President are alt still
     bound by a Confidentiality, Non-Disclosure and Non4Jti1izatien Agreement and that such agreement
      survives the termination :df our business relationship,

      It is extremely importantfor us to show anyoneaTid everyone that any Violation of challenge of our IP
      win have both a. legal arid financial consequence for would-be infrfngetsdf ivSoiators.. Deterfence.Gan
      only be achieved through an unbending resolve to pursue every legal means available at law each time'
      we "become aware of a problem or we s.uspect our IP Is likely 1;» suffer daraage.

      Dur patent lavu firms have a stake in the successful pressecution of bur IP portfolio and in. its subsequent
      defense. For this reason, you will be hearing directly from them on the matters at hand.

      Pleas.e immediately cease and .desist using any of the material, that belongs;to MelJand Group, and return
      to us any all material 1n your pqssessipn that pertains, to pur proprietary ^hnqlogyas, well as a copy of
      any derivative Material you have producedfio far that has-made use of p;ur proprietary.IP, Pleasealso
      erase-any material sbared.on electronie media«nyfiurcornpufeersand.harddisl^sajid provide ufewfcTi-an
      af/idavit 'that any and all electronic files have' been erased from your system and thatther-e are ns
      copies ramaining anywhere. We request the sanie of anyone els,e witK wfeorn you haye been working.
      We aisp request that you provide us with a list of any and all perscjps, cprnpanies or-entities (with full
      coritact.details pertaining to each one) with whom you may have discussed 60? technology or shared our
       proprietary information to date.

       Iflnd regards.




       Allai

       cc.       Robert :M. West
                 David Cooper, Esq.
                 Ted Karr, Esq.
                 Howard Skalst, Esq.
                 James T. Hughes, Esq.
                  Gerhard Anderson III, Esq.
                  Stephen R. Field, Esq.                                                       „ , .,.    ^ „
                                                                                               Exhibit D, Page 1



Intellectual Property Holding - ilnnovarfons in Structured Finance; Financial Products.- Strategies -for Waairh Crsaiion; E-CommeroB
